                          Case 1:23-mj-00962-CCB Document 6 Filed 11/13/23 Page 1 of 1
                                                                                                                                               FILED IN OPEN COURT
� AO 470 (Rev. 8/85) Order of Temporary Detention                                                                                                   U.S.O.C. -Atlanta

                                                                                                                                                   NOV 1 3 2023
                                             UNITED STATES DISTRICT COURT
                                                                                                                                            KEVIN P. WEIMER, Clerk
                          NORTHERN                                              District of                                         GEOR<i)!A. TQ.C- 011putyCl11rk


           UNITED STATES OF AMERICA                                                               ORDER OF TEMPORARY DETENTION
                                                                                                   PENDING HEARING PURSUANT TO
                                   V.                                                                    BAIL REFORM ACT



SEAN PATRICK CIRILLO                                                                       Case No. 1 :23-mj-962
                              Defendant




       Upon motion of the ________...;U.a... """S'"". """G'-Oa...VE-=""'RNME"""""-=-
                                                                                  ________
                                                                                     N'---T , it is ORDERED that a

detention hearing is set                  ------------
                                           November 16, 2023
                                                     Date
                                                             * at 11 :00 AM
                                                                                                                                         Time

before ________....;::.
                  UNITED;:..;.:..:..:;::.::;_..:;;:..:
                                              STA      �TES
                                                        .:..::=-'=..:.;:;;:
                                                                 MAGISTRATE =.:..:..::...:...:...=....::....::JUDGE
                                                                                                                ::.=..::::..:::...=LINDA                         .:..;..:..==�--------
                                                                                                                                    c:.:..;=-:..:....;T.::..:....WALKER
                                                                                Name of Judicial Officer

                    Courtroom 1860, U.S. Courthouse 75 Ted Turner Drive Street, S.W. Atlanta., GA 30303
                                                                        Location of Judicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States marshal) _________

--------------------------------- ) and produced for the hearing.
                                                  Other Custodial Official




           11/13/2023
                                                                                                                             Judicial Officer




*If not held immediately upon defendant's first appearance, the hearing may be continued for u            hree days upon motion of the Government, or
up to five days upon motion of the defendant. 18 U.S.C. § 3142(t)(2).
      A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present. Subsection (l) sets forth the grounds that may be
asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government
or upon the judicial officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or
threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
